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  UNITED STATES DISTRICT COURT FOR THE W ESTERN DISTRICT OF VIRGINIA
                      CHARLOTTESV ILLE D IVISION


  ELIZA BETH SIN ES,ET A L.,                                  CaseNo.3:17-cv-00072-NKM.l
  Plaintiffs,                                                 jHon.NoCLERKS
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                                                                                ARLOTTESVILE,VA
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  JA SO N K ESSLER ,ET A L.,
                                                                               FEB 1i 2018
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                                                                           BY' k '     >'    !
   pefendants.I                                                              1 D     GLq

         DEFENDANT M ICHAEL PEINOVICH 'S M EIIORANDUM IN SUPPO RT
         OF M OTION TO STAY DISCOVERY PENDING M O TIO N TO DISM ISS

         DefendantM ichaelPeinovich,Pro Se,submitsthismem orandum in supportofhis

  m otion to stay discovery pending resolution ofhis m otion to dism issplaintiffs'am ended

  complaintptlrsuanttoFed.R.Civ.P.12(b)(6).
                                            INTRODUCTION

         lntimidate. Overwhelm . Bankrtlpt. Silence. Destroy. These are the manifestgoalsof
                                                                                      :


  plaintiffs'hectoring lawsuit.A majorweapon -perhapstheprimaryweapon - in theplaintiffs'
  alnnory for accom plishing their goals is broad, invasive, and expensive discovery. A nd

  plaintiffs,represented by more than a dozen big finu attorneys,have the resources to use this

  weapon to greateffectagainsttlle defendants,m any of them indigent,m any forced to proceed

  pro se,and alldecried ashatersand racistsin them ainstream media.

         Plaintiffshave wasted no timein implem enting theircoordinated attack to overwhelm the
  defendants. After filing a 110 page amended complainton January 5,2018,pla
                                                                           'intiffs served

  broad and invasive documentrequestsand interrogatolies (discussed below)on Peinovich and
  other defendants less than two weeks later,on Janual-y 18a2018. They did so even though

  Peinovich and the otherdefendantshad fited motionsto dism issplaintiffs'initialcomplaintand,
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  asplaintiffs surely knew,intended to file,and have now filed,m otionsto dismiss the amended

  com plaint.

          The motions to dism iss filed by Peinovich and the otherdefendantspresentcompelling

  arguments grounded in basic FirstAmendmentand Twombly pleading jurisprudence forthe
  dismissalofplaintiffs'harassing am ended conplaintin its entirety. M oreover,the burdens on

  Peinovich and the otherdefendants to respond to plaintiffs'broad and invasive discovery are

  extrem e,and there is no urgency requiring the parties to proceed to discovery while the m otions

  to dism iss are pending. Ful4her,merely allowing plaintiffs'lawfare-style discovery to proceed

  despite the pending m otions to dism iss in itself has a chilling effect on First A lnendm ent

  Seedom softhe defendants,indeed allAmericans.Forthese and otherreasonssetforth below,

  Peinovich respectfully requests thatdiscovery in this case be stayed pending resolution ofhis and

  the otherdefendants'm otions to dism iss.

                                              BA C K G R O U N D

          Plaintiffsfiled theirinitialcomplainton October11,2017 (DocketEntl-y # 1). W ithin a
  month numerous defendants had tiled motions to dismiss (e.g.,DE ## 93,99, 1.04, 111).
  Peinovich filed his m otion to dism iss and supporting m em orandum ,pro se, on N ovem ber 2l,

  2017 (DE ## l17,118). Plaintiffsresponded to the motionsto dismissby filing an amended
  complainton January 5,2008 (DE #175). Numerousdefendantsthen filed motionsto dismiss
  the amended complaint(e.g.,DE ## 20t,204,206,207,209). Peinovich fiied a motion to
  dism iss the am ended com ptaintand supporting m em orandum on Janual'y 31, 20l8 (DE ##212,

  213).
          On January 25, 20l8,plaintiffs served docum ent requests and interrogatories on the

  defendants. Am ong otherdocum entrequestsw ere the fotlowing:
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        REQUEST FOR PRODUCTION NO.1:
        A 11D ocum ents and com m unications concelming the Events,including w ithoutlim itation

        alldocum entsand comm unications:

        i.concerning any preparation,planning,transpollation to,orcoordination for,theEvents,

        including receipts, bills and credit card statem ents reflecting costs for tl'
                                                                                     anspol-tation,

        lodging,apparel,gear,orany othermateriatpul'chased fortheEvents;

        ii.concerning any instructions or coordination relating to the Events,including security

        details,w hatto w ear,whatto bl-ing,w hen to m eet,w here to m eet,w hatto say,and any

        otherlogistical'
                       inform ation or an-angem ents;

        iii.thatareSocialM ediadocumentsconcerning theEvents;

        iv.you created during theEvents,including SocialM edia,textluessages,video,and

        photographs;

        v.conceming Aflican Am ericans,Jewish individuals,orotherreligious,racial,orethnic

        m inoritiesthatrelate in any w ay to the Events;

        vi.concerning any statementtàraction attributed to You in theAmended Complaint;or

        vii. concerning any allegation of an altercation, violent act, injul
                                                                           -y, or instance of
        intim idation or Harassmentthatoccurred during the Rally,including butnotlim ited to
        JamesFields'vehicularincident;or

        viii.concerning any funding ofthe Events,including fortransportation, housing,food,

        w eapons,uniform s,signage,tikitorches,orotherm aterials orsmwices used in connection

        withtheEvents(ortheplanningthereog.
        REQUEST FOR PRODUCTION NO.2:
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        A11Documents and Comlnunications concem ing events,meetings,rallies,conferences,

        orconversationsheld priorto theEventsthatrelateto theEventsin any way.



        REQUEST FOR PRODUCTION NO.4:
        AllDocumentsand Comm unicationsconcem ing violence,intim idation,orharassmentof

        Persons on the basis ofrace,religion,or ethnicity,including butnotlim ited to,ethnic

        cleansing,white genocide,a white etlm o-state,orany otherfol-m oflarge orsm allscate

        violence.

        REQUEST FOR PRODUCTION NO.5:
        Forany SocialM edia accountY ou had from January 1,2015,to the present:

        i.Documentsand Comm unication sufficientto show theaccounthom epage,and alluses

        ofSocialM edia forthataccountthatreference orconcern the Events or D efendants in

        any w ay.

        ii.Docum ents and Cotnm unication sufficientto show allYourtûfriends''antl/orEdsocial

        connections''m aintained on Y ouraccount,including theirnam es,addresses,and social

        network uselmam esOrhandles.

        REQUEST FOR PRODUCTION NO.6:
        A l1D ocum ents concelming and al1Coluluunications concerning or w ith any Plaintiff or

        Defendant(otherthan You)named intheAmendedColnplaint,and anyotherPersonwho
        attended,planned or w as involved in the Events.

        The inten-ogatories com prised the follow ing:

            ldentify a11 m eans of com m unication used by you to com m unicate concem ing the

            Events, w hether before, during, or after the Events, and for each m eans of

                                                 4
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            com munication,identify a1lnalnes,aliases,e-luail addresses,phone nulnbers, and

            SocialM edia Handlesyou used in connection with such comlnunications,including

            the 18-digitaccount identifier associated with any Discord accountused by You.

            M eans of comm unications include,butare notlim ited to,telephone calls,in-person

            m eetings,and a11m eans ofelectronic com munication including,for example,Social

            M edia,em ail,SM S m essag.es,podcasts,and onlinevideo.

         2 ldentify any ttchannel''ordtserver''on D iscord to w hich you had access.

            ldentifyatlpersons(naturélornon-natural)withwhom youcommtmicated
            concem ing theEvents,whetherbefore,during,oraftertheEvents.

         4. ldentify al1Electronic Devicesused by you to communicateconcerning the

            Events,w hetherbefore,during,orafterthe Events.



         Plaintiffs have also announced their intention to serve broad document requests via

  subpoena on Tw itter,Inc.and num erous otherpersons and entities.

                                              AR GUM ENT

         PursuanttoFed.R.Civ.26(c),theCourthasdiscretiontostaydiscoveryuponashowingof
  Sïgoodcause-''ln determ ining whethergood causeexists,courtsshould weigh competing

  interests.See,e.g.,Landisv.North-4m.Co.,248,255(1936)*
                                                       ,ivcMillianv.North Clrtpîl
                                                                                Wc
  Central#rj.îo7?,20llW L 4433816at* 1-2(E.D.N.C.Sep.22,2011),
                                                             *SpencerTraskSoftware
  andJzlftlrpncffonServices,LLC.P-.RpostInternational,LTD,206F.R.D.367,367(S.D.N.Y-
  2002),
       . Integrated Sys.tyrPower,Jac.v.Honeywell1nt'l,Jac.,2009 W L 2777076 at* 1

  (S.D.N.Y.Sep.1,2009)(holdingthatin decidingwhethergoodcauseexists
  to stay discovery pending resolution ofa m otion to dism iss,courtshave considered the breadth

                                                 5
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  ofdiscovezy sought,theburden ofresponding to it,and thestrength of

  thependingmotionto dismiss).Courtsrepeatedlyhavestayeddiscovery whereb.motionto
  dismissraisesm elitoriousargumentsthatwould disposeoftheentireaction because such

  astaypromotesefficiency andpreservesjudicialeconomy. See,e.g.,Chaudhly v.M obilOil
  Co.,186F.3d502,509(4*Cir.1999)(affinmingtrialcoul-t'sstayofdiscovel'ypending
  resolutionofmotio'
                   ntodismissl; Rttthelfordv:City t?fNevportNews',919F.Supp.885,888
  (E.D.Va.1996)(discoverypreviously stayedpendingresolutionofadispositivemotionl; Tilley
  v.Unitedu
          v/fz/aç,270F.Supp.2d731,734(M .D.N.C.2003)(stayofdiscoverypending.resolution
  ofdispositivemotion),affd,85F.App'x333(4*Cir.2004),
                                                    .Andençon v.UnitedStates
  W//t?/-ncy,çOfïce,1992% 159186at* 1(D.D.C.June19,1992)($çItis.wellsettledthat
  discovel
         'y isgenerally considered inappropriate w lzile a m otion thatw ould be thoroughly

  dispositive oftheclaim sin the Colnplaintispending''l;PicturePatentsLLC v.TerraHoldings

  LLC,2008W L 5099947at*2(S.D.N.Y.Dec.3,2008)(staying discoverypendingRule
  l2(b)(1)motiontodismiss):UlîitedStatesv.Count
                                              y qJXJ-
                                                    S--
                                                      V//I/,188F.R.D.187,189 (E.D.N.Y.
   1999)(concludingthatstay shouldissuebecauseitthecostofdiscovm'y,coupledwiththe
  diversionofemployees'timeandattentionfrom gdefendant'slbusinesstofoeuson retrievalof
  discovel'
          y ...wouldbeanunnecessaryexpenseintheeventthat(defendant'sqmotiontodismiss
  isultimatelygranted.'').
         The factors relevantto a determ ination ofgood cause in this case al1weigh decisively in

  favorofa stay ofdiscovery.

         Burdens. A s noted above, plaintiffs' discovery requests are blatantly overbroad and

  oppressive,e.g.,requesting,inter alia,ttrajllDocuments and Communications concerning the
  Events,including ...alldocum ent: and com m tlnications'
                                                         .        thatare SocialM edia docum ents

                                                  6
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  concerning the Events ...concerning African Alnel-icans,Jewish individuals,orotherreligious,

  racial,orethnic minolitiesthatrelate in any way to theEvents...condenaing any funding ()fthe

  Events,including fortransportntion,housing,food,weapons,unifonzu,signage,tiltitorches,Or

  other materials orselwices used in connection with the Events (orthe planning thereog..
  concem ing violence, intim idation, or harassm ent of Persons on the basis of race, religion, or

  ethnicity,including but.notliluited to,ethnic cteansing,white genocide,a w hite ethno-state,or

  any otherfonn oflarge orsm allscaleviolence...Docum ents and Communication sufficientto

  show the accounthom e page,and al1uses of SocialM edia for thataccountthatreference or

  concern the Events or D efendants in any w ay. ..D ocum ents and Ctunm unication sufficient to

  show al1Y our Sfriends'and/or tsocialconnections'm aintained on Y our account,including their

  names,addresses,and socialnetwork usernames or handles... a11m eans ofcom munication

  used by you to com municate concerning the Events,whetherbefore,dtlring,oraftertheEvents,

  and for each m eans of communication, identify allnam es,aliases,e-m ail adtlresses,phone

  num bers, and Social M edia H andles you used in connection w ith such com luunications,

  including the l8-digit account identitier associated with any Discord account used by You.

  M eans of com m unications incltlde,but are not lim ited to,telephone calls,in-person m eetings,

  and al1m eans of electronic com lnunication including,for exam ple, SocialM edia, em ail,SM S

  m essages,podcasts,and online video.''

          The bul'den on Peinovich,and the other defendants,to respond to such harassing and

  highlyobjectionablediscoveryrequestsistremendous.Bycontrast,theburdenonplaintiftkto
  w aituntilafterresolution ofPeinovich'sm otion to dism iss ism inim al,indeed nonexistent.

         JudicialEflk iency. Plaintiffs'docum entrequests and interrogatories are flagrantly

   abusive. Peinovich,accordingly,w illhave no option otherthan to challenge them ,involving the

                                                 7
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  Courtand thepalliesin contentiousand lengthy discovel'y disputes.A stay ofdiscovel'y willthus

  notonly conservetheparties'resourcesbutthe Coul-t'sresourcesaswell,asthe Courtwillnotbe

  called upon to addressdiscovery issuesthatmay ultim ately bemootifthemotion to dism issis

  granted.Justascourtshavereèognized thatpartiesshouldnotwaste theirresources on discovery

  pendingamotiontodismiss,see,e.g.,Spencel.Ibasksb/fu/lre.206F.R.D at368,thesame
  considerationsshould apply to the Court'sresources.

         M eritofM otion toDism iss.Asexplained in Peinovich'smotion to dismiss,Plaintiffs'

  amended colnplaintegregiously contravenesbasicpleading standardsunderthe Suprem eCourt's

  Twontbly and Iqbalcases,fundamentalFirstAmendmentprinciplesundertheSuprem eCourt's

  Sttyderv.Phel
              ps,562U.S.443(20l1),Terminiellov.City ofChicago,337U.S.934(1949),
  Brandenburg v.Ohio,395U.S.444 (1969)cases,andtheheckler'svetodoctrineasexplicaledin
  theSixthCircuit'srecentBibleBelieqm-s,etal.)'.Wa?meCt?l/?lfJz,M iclligan,805F.3d228(6*
  Cir.2015)case.Peinovich'smotionissubstantialandmeritorious.

         FirstAmendmentContext.Asplaintiffsknow well,themerefactofbeingsubjectto
  discovery requestsassweeping and invasive asplaintiffshavepropounded hasachilling effect

  on defendants'willingnessto exercisetheirFirstAmendm entrights. lndeed,anyperson holding

  controversialand unpopularview sw illthirlk twice aboutexpressing them ifdiscovel'y abuses

  such asplaintiffsarenow attempting are notrestrained.

         Agreem entby O ther D efendants.Peinovich has contacted allbutone ofthe other

  defendantsinthecase(onehewasunableto contact)anda1Iagreedtothismotiontostay
  discovery.

                                            C O N CL USIO N




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            A stay ofdiscovel'
                             y pending resolution ofa m otion to dism iss<iis an eluinently logical

  m eanstopreventwasting the tim eand effortofa11concem ed,and to m akethem ostefficientuse

  Ofjudicialresources.''CoastalStatesGasCorp.v.Dep 'tofEnergy,84 F.R.D.278,282(D.Del.
  1979(citationsomitted)(discoverystayedpendingresolutionofdispositivemotion).Seealso
  Jc?.
     çl'
       c-De/éz?w?cv.Am.Gen.Fin.Colp.,2009W L497609at*2(E.D.N.Y.Feb.26,2009)
  (grantingstaywherettdefendantshavesubstantialargumentsthatwoutddisposeofal:tlzeclaims
  atissueinthisaction'').Accordingly,PeinovichrespectfullyrequeststhattheCou14enteran
  Orderstaying a1ldiscovm'
                         y obligations in this case untilafterthe Courthas l-uled on

  Pe1
    'nOV1
        -Ch'Sm otion to dislniss.



  D ated:Febl-uary 9,2018



                                                               Respectfully subm itted,




                                                                M ichaelPeinovich,Pro Se


                                         CERTIFICATE OF SERVICE

         On this9th day ofFebruary,2018,lM ichae:Peinovich cel-tify thatIm ailed copiesofthis

  m em orandtun in suppol-tandtheaccompanying motion to:

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                                                          M ichaelPeinovich




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